  Case 2:07-md-01873-KDE-MBN Document 14480-1 Filed 06/22/10 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA
                               NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                                         MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                                SECTION “N-5"

                                                            JUDGE ENGELHARDT
                                                            MAG. JUDGE CHASEZ

THIS DOCUMENT IS RELATED TO ALL CASES

****************************************************

PLAINTIFFS’ MEMORANDUM IN SUPPORT OF MOTION FOR LEAVE TO AMEND
          PLAINTIFFS’ ADMINISTRATIVE MASTER COMPLAINT



MAY IT PLEASE THE COURT:

       Plaintiffs respectfully move this Court to allow them to amend their Administrative

Master Complaint, as supplemented and amended, to amend the venue allegations therein. Rule

15 of the Federal Rules of Civil Procedure specifically states, “[t]he court should freely give

leave when justice so requires.” Here, the plaintiffs simply desire to file the Fifth Supplemental

and Amended Administrative Master Complaint to simplify the venue allegations in order to

make them applicable to all defendant parties, particularly the United States of America, through

the Federal Emergency Management Agency, in all applicable venues involved in this multi-

district litigation. As the Administrative Master Complaint is a procedural device meant to aid in

the efficiency and economy of this MDL as a whole and does not purport to override the venue

allegations in the underlying, individual cases, there will be not undue prejudice in allowing the

attached Fifth Supplemental and Amended Administrative Master Complaint to be filed.
  Case 2:07-md-01873-KDE-MBN Document 14480-1 Filed 06/22/10 Page 2 of 3




       Accordingly, plaintiffs respectfully request that this Honorable Court grant their Motion

for Leave to File Fifth Supplemental and Amended Administrative Master Complaint.



                                    Respectfully submitted:

                                    FEMA TRAILER FORMALDEHYDE
                                    PRODUCT LIABILITY LITIGATION

                                    BY:     s/Gerald E. Meunier
                                            GERALD E. MEUNIER, #9471
                                            PLAINTIFFS’ CO-LIAISON COUNSEL
                                            Gainsburgh, Benjamin, David, Meunier &
                                            Warshauer, L.L.C.
                                            2800 Energy Centre, 1100 Poydras Street
                                            New Orleans, Louisiana 70163
                                            Telephone: 504/522-2304
                                            Facsimile:    504/528-9973
                                            gmeunier@gainsben.com

                                            s/Justin I. Woods
                                            JUSTIN I. WOODS, #24713
                                            PLAINTIFFS’ CO-LIAISON COUNSEL
                                            Gainsburgh, Benjamin, David, Meunier &
                                            Warshauer, L.L.C.
                                            2800 Energy Centre, 1100 Poydras Street
                                            New Orleans, Louisiana 70163
                                            Telephone: 504/522-2304
                                            Facsimile:     504/528-9973
                                            jwoods@gainsben.com

                                            COURT-APPOINTED PLAINTIFFS’
                                            STEERING COMMITTEE
                                            ANTHONY BUZBEE, Texas # 24001820
                                            ROBERT BECNEL, #14072
                                            RAUL BENCOMO, #2932
                                            FRANK D’AMICO, #17519
                                            MATT MORELAND, #24567
                                            LINDA NELSON, #9938
                                            DENNIS REICH, Texas #16739600
                                            MIKAL WATTS, Texas # 20981820
  Case 2:07-md-01873-KDE-MBN Document 14480-1 Filed 06/22/10 Page 3 of 3




                              CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing document has been served
upon counsel of record as indicated below in accordance with the Federal Rules of Civil
Procedure on June 22, 2010.

                                          /s/Gerald E. Meunier _
                                          GERALD E. MEUNIER
